
In re: Betty Brady applying for remedial writs.
Granted with stay order. (See Order).
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Robert Collins, Magistrate of the Criminal District Court for the Parish of Orleans, to transmit to the Supreme Court of Louisiana, on or before the 14th day of February, 1975, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 3rd day of March, 1975, at 10:00 A.M. why the relief prayed for in the petition of the relator should not be granted.
It is further ordered that, in the meantime and until the further orders of this court all proceedings against the relator in said Criminal District Court shall be stayed and suspended.
